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                                                                                Date _---!1~-'-':S-C~
                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


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UNITED ST ATES OF AMERICA           )
                                    )                      Case No. 21-cr-0245-AJT
     V.                             )
                                    )
IGOR DANCHENKO                      )
                                    )
     Defendant.                     )
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   GOVERNMENT'S IN CAMERA, UNDER SEAL NOTICE PURSUANT TO CIPA
SECTIONS 6(a) AND 6(b) OF OBJECTIONS CONCERNING USE, RELEVANCE, AND
               ADMISSIBILITY OF CLASSIFIED INFORMATION




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